
992 So.2d 969 (2008)
In re MEDICAL REVIEW PANEL PROCEEDINGS OF Joseph D. BROWN, Jr.
No. 2008-CC-1043.
Supreme Court of Louisiana.
September 19, 2008.
Granted. A trial court judge has broad discretion in regulating pre-trial discovery, which discretion will not be disturbed on appeal absent a clear showing of abuse of discretion. Bell v. Treasure Chest Casino, L.L.C., 06-1538 (La.2/22/07), 950 So.2d 654. Under the facts presented, we cannot say the trial court's denial of the request for production of relator's mental health records represents an abuse of discretion. See Moss v. State, 05-1963 (La.4/04/06), 925 So.2d 1185. Accordingly, the judgment of the court of appeal is reversed, and the judgment of the trial court is reinstated.
CALOGERO, C.J., dissents and would deny the writ.
KNOLL, J., dissents and would deny the writ.
